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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3491
                       Plaintiff,

       v.

Ukliss Store and et al.,

                       Defendants.



                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

               Defendant Name                                      Line No.

                   Zimtown                                            156

                  sz_redrose                                          194

             Global Online Store                                      313



DATED July 31, 2020                                 Respectfully submitted,

                                                    /s/ James A. Karamanis
                                                    James A. Karamanis
                                                    Barney & Karamanis, LLP
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                                        ATTORNEY FOR PLAINTIFF Ouyeinc Ltd.
